                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         MIDDLE DISTRICT OF TENNESSEE
                              NASHVILLE DIVISION

 APRIL TENILLE NORRIS,                            )
                                                  )
        Plaintiff,                                )
                                                  )        NO. 3:18-cv-00750
v.                                                )
                                                  )        JUDGE CAMPBELL
 MURFREESBORO LEASED HOUSING                      )        MAGISTRATE JUDGE
 ASSOCIATES I, LLP d/b/a CHARIOT                  )        NEWBERN
 POINTE APARTMENTS, et al.                        )
                                                  )
        Defendants.                               )

                                             ORDER

       Pending before the Court is a Report and Recommendation from the Magistrate Judge

(Doc. No. 42) recommending the Court dismiss this action without prejudice under Federal Rule

of Civil Procedure 4(m). The Magistrate Judge stated that Plaintiff, who proceeds in forma

pauperis, has not retuned a service packet for the only remaining defendant, Murfreesboro Housing

Authority. Plaintiff did not response to the Magistrate Judge’s April 15, 2021 Order to show cause

(Doc. No. 41). Nor has she filed any objections to the Report and Recommendation (Doc. No. 42),

which advised the parties that objections to the Magistrate Judge’s findings were to be filed within

fourteen days of service.

       The Court has reviewed the Report and Recommendation (Doc. No. 42) and concludes that

it should be ADOPTED and APPROVED. Accordingly, this action is DISMISSED WITHOUT

PREJUDICE. The Clerk is directed to close the file.

       It is so ORDERED.


                                                      _________________________________
                                                      WILLIAM L. CAMPBELL, JR.
                                                      UNITED STATES DISTRICT JUDGE




     Case 3:18-cv-00750 Document 43 Filed 06/08/21 Page 1 of 1 PageID #: 754
